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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DOWNTOWN MUSIC PUBLISHING LLC, OLE
 MEDIA MANAGEMENT, L.P., BIG DEAL
 MUSIC, LLC, CYPMP, LLC, PEER
 INTERNATIONAL CORPORATION, PSO
 LIMITED, PEERMUSIC LTD., PEERMUSIC III,
 LTD., PEERTUNES, LTD., SONGS OF PEER
 LTD., RESERVOIR MEDIA MANAGEMENT,
 INC., THE RICHMOND ORGANIZATION, INC.,                   No. 19-cv-02426 (DLC)
 DEVON MUSIC, INC., ESSEX MUSIC, INC.,
 ESSEX MUSIC INTERNATIONAL, INC.,                         ORAL ARGUMENT
 FOLKWAYS MUSIC PUBLISHERS, INC.,                         REQUESTED
 HAMPSHIRE HOUSE PUBLISHING CORP.,
 HOLLIS MUSIC, INC., LUDLOW MUSIC, INC.,
 MELODY TRAILS, INC., MUSICAL COMEDY
 PRODUCTIONS, INC., PALM VALLEY MUSIC,
 LLC, WORDS & MUSIC, INC., ROUND HILL
 MUSIC LLC, ROUND HILL MUSIC LP, THE
 ROYALTY NETWORK, INC., and ULTRA
 INTERNATIONAL MUSIC PUBLISHING, LLC,
            Plaintiffs and Counterclaim Defendants, and

GREENSLEEVES PUBLISHING LIMITED, ME GUSTA
MUSIC, LLC, STB MUSIC, INC., and TUNECORE, INC.,

             Plaintiffs, and

NATIONAL MUSIC PUBLISHERS’ ASSOCIATION,
INC.,

             Counterclaim Defendant,

                               v.

PELOTON INTERACTIVE, INC.,

             Defendant and Counterclaim Plaintiff.



             COUNTERCLAIM DEFENDANTS’ MEMORANDUM
            OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS
        DEFENDANT-COUNTERCLAIM PLAINTIFF’S COUNTERCLAIMS
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                                 PRELIMINARY STATEMENT

                For years, Defendant-Counterclaim Plaintiff Peloton Interactive, Inc. (“Peloton”)

has used copyrighted musical works owned and/or controlled by Plaintiffs without their consent,

and without obtaining the necessary synchronization (or “sync”) licenses, as part of a strategy to

build a music-centric brand that is now reportedly worth in excess of $6 billion. Having no defense

to its copyright infringement, Peloton resorts to the timeworn tactic of asserting a baseless antitrust

counterclaim against Plaintiffs, who are independent music publishers (the “Publishers”), and the

Publishers’ trade association, National Music Publishers’ Association, Inc. (“NMPA”), as well as

charging NMPA with tortiously interfering with Peloton’s prospective business relations.

Peloton’s counterclaims fail to state a claim under either antitrust or common law and should be

dismissed in their entirety with prejudice.

                Peloton fails to allege an antitrust claim for horizontal collusion. It is settled law

that the very conduct identified as the basis for Peloton’s claim—the Publishers’ filing of the

copyright infringement lawsuit and any alleged joint refusal to license incidental to that lawsuit—

is shielded from antitrust liability by the Noerr-Pennington doctrine. Any other conclusion would

render Noerr-Pennington meaningless.

                To avoid dismissal of its Sherman Act claim under Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007), Peloton must allege facts that adequately show either directly or

circumstantially that NMPA and the “Coordinating Publishers” engaged in concerted action that

is not otherwise protected by Noerr-Pennington. Peloton has not done so here. Peloton pleads no

direct evidence of coordination between the Publishers and NMPA, other than lawful conduct

incidental to the filing of this suit. And its circumstantial facts fail to exclude the possibility that

the Publishers’ decisions not to license Peloton were the result of either (a) activity protected under



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Noerr-Pennington or (b) independent determinations rather than collusion.          These pleading

failures are fatal under Twombly.

               Peloton’s antitrust counterclaim should also be dismissed because it has failed to

allege a proper relevant product market in which it is suffering anticompetitive effects. Peloton

asserts that the relevant product market consists only of the works of those publishers who are

party to this suit. That is plainly improper as a matter of well-established law, which requires the

market to be composed of all reasonably substitutable musical compositions (including

compositions controlled by music publishers with which Peloton does have sync licenses).

               Peloton’s claim against NMPA for tortious interference with prospective business

relations similarly fails as a matter of law, notwithstanding Peloton’s recent amendment of that

claim without leave of court. Peloton fails to clear the “particularly high hurdle” of alleging that

NMPA’s conduct constituted a crime, an independent tort, or an act the sole purpose of which was

intentionally to harm Peloton. Nor does Peloton allege adequately that it would have entered into

sync licenses with music publishers “but for” NMPA’s conduct. Those pleading failures require

dismissal of Peloton’s tortious interference claim.

                                    STATEMENT OF FACTS

A.     Procedural History

               The Publishers filed the Complaint in this action (“Compl.”) on March 19, 2019,

alleging that Peloton is liable for willful infringement of the copyrights in over 1,000 musical

compositions owned or controlled by the Publishers. (See Compl. ¶¶ 1–6.) Peloton answered the

Complaint on April 30, 2019, asserting two Counterclaims against the Publishers and

Counterclaim Defendant NMPA: alleged violation of § 1 of the Sherman Act and alleged tortious

interference with prospective business relations. (Counterclaims ¶¶ 91–108.) On May 31, 2019,



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the Publishers filed an Amended Complaint (the “First Amended Complaint” or “FAC”) that added

five additional publisher plaintiffs to the action, as well as additional musical compositions

willfully infringed by Peloton. (FAC ¶¶ 1–23; Ex. A.) Peloton filed its answer to the FAC on

June 14, 2019. On September 27, 2019, the Publishers, with leave of Court, filed a Second

Amended Complaint (the “Second Amended Complaint” or “SAC”) seeking damages in excess of

$370 million and that (1) added more than 1,300 copyrighted musical works, owned and/or

controlled by the Publishers that Peloton has infringed (“Additional Infringed Works”), and (2)

joined additional named plaintiffs that own copyrighted interests in the works at issue in the FAC

and Additional Infringed Works, each of which are affiliates or subsidiaries of Publishers, and

share common employees, executives and operations with the Publishers. On October 11, 2019,

Peloton filed an answer to the SAC and a new version of the Counterclaims (amended without

permission or leave of Court), principally designed to augment its tortious interference claim

against the NMPA (the “New Counterclaims”). (New Countercl. ¶¶ 19–20, 68–80.)

B.       The Allegations of the New Counterclaims1

         1.      Peloton’s Business

                 Peloton “simulates the experience of an in-studio group cycling class” by offering

products that allow consumers to “stream in real-time” instructor-led fitness classes. (New

Countercl. ¶ 5.) These classes “are also recorded and archived in Peloton’s on-demand library

(now consisting of thousands of classes) for later consumption.” (Id.) “Instructors choose music

to play during their classes, curating playlists of songs that are suitable for the feel and tempo

desired by the instructor.” (Id. ¶ 6.) Peloton alleges that it “does not need licenses to all or even

most music.” (Id. ¶ 35.)


1
     Counterclaim-Defendants assume, as they must, the truth of the allegations of the New Counterclaims only for
     the purpose of this motion to dismiss. See Ashcroft v. Iqbal, 556 U.S. 662, 696 (2007).

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        2.       Peloton’s Allegations of Anticompetitive and
                 Tortious Conduct by Counterclaim-Defendants

                 In April 2018, NMPA issued a cease-and-desist letter to Peloton, noting “that

Peloton has infringed, and remains unauthorized to use, music owned and/or controlled by

NMPA’s independent publisher members” and expressing its “willing[ness] to engage in a

dialogue concerning a negotiated resolution” of the infringement, which would include “fair

compensation for all past, present, and future uses by Peloton of works that [were] presently

unlicensed.” (See Beale Declaration, Exhibit 1 (Apr. 9, 2018 Letter from J. Cohen to H. Kushi).)2

Peloton alleges that NMPA threatened to “turn many in the music publishing industry against” it,

unless Peloton agreed to enter into negotiations with NMPA to “license, on a going-forward basis,

the use of compositions controlled by NMPA members which had not yet entered into agreements

with Peloton.” (New Countercl. ¶¶ 33–34.) Peloton does not assert that it attempted to negotiate

sync licenses with any of the Publishers before receiving the NMPA letter.

                 Peloton alleges that, although negotiations were originally fruitful, ultimately,

“NMPA deliberately obfuscated to member publishers the substance of its discussions with

Peloton” and “told its members that Peloton had withdrawn from the negotiations and was

unwilling to further engage.” (Id. ¶¶ 38–40.) Peloton alleges that it began to negotiate directly

with certain of the Publishers in January of 2019.3 Although Peloton does not plead that the




2
    The April 9, 2018 correspondence is referenced in the New Counterclaims (¶ 33), and thus this Court may consider
    it in connection with this motion. See Graham v. Barriger, 699 F. Supp. 2d 612, 623 (S.D.N.Y. 2009) (“[A] court
    may consider documents annexed to the complaint or incorporated in the complaint by reference without
    converting the motion to dismiss into a motion for summary judgment.”) (citations omitted); see also Kramer v.
    Time Warner, Inc., 937 F.2d 767, 773 (2d Cir. 1991).
3
    Those include Anthem Entertainment L.P. (f/k/a ole Media Management L.P.) (“Anthem”), Reservoir Media
    Management, Inc. (“Reservoir”), Big Deal Music, LLC (“Big Deal”), CYPMP, LLC (“Pulse”), Round Hill Music
    LLC and Round Hill Music LP (“Round Hill”), and the Peer group of publishers (“Peer”). (Id. ¶ 42.)
    Additionally, Peloton asserts that it began negotiations with Publisher Downtown Music Publishing LLC
    (“Downtown”) at some point in 2018, concurrent with its negotiations with NMPA, but that these negotiations
    failed to result in an agreement. (See id. ¶ 56.)

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negotiations progressed beyond Peloton’s furnishing of a term sheet and non-disclosure agreement

(“NDA”), it nonetheless asserts that it had a “reasonable expectancy” of licensing relationships

with music publishers generally. (Id. ¶ 114.) According to Peloton, in mid-February 2019, the

Publishers “suddenly cut off negotiations.” (Id. ¶ 59; see also ¶¶ 46, 52, 57.) One month later, the

Publishers filed the Complaint. (See id. ¶¶ 49, 55.)

               Peloton alleges that with NMPA as the “ringleader,” the Publishers conspired to

“fix prices and to engage in a concerted refusal to deal.” (Id. ¶ 3.) Rather than allege where, when,

and how this collusion took place, Peloton asserts that the Publishers had “many opportunities to

meet and exchange such information” at industry events as well as at “backroom” meetings hosted

by NMPA. (Id. ¶¶ 64–67.) Peloton does not assert which of the Publishers (if any) attended any

such industry events, let alone that any “exchange of information” among them actually occurred

there. Likewise, Peloton does not allege where or when any “backroom” meetings took place,

who was in attendance, or what was purportedly discussed. This collusion, Peloton alleges,

allowed the Publishers to “seek to enjoy supracompetitive prices,” (Id. ¶ 90), in the market for

“reproduction rights licenses to the copyrighted works controlled (in whole or in part) and

collectively negotiated by the Coordinating Publishers through NMPA.” (Id. ¶ 81.)

               Second, Peloton claims that NMPA interfered with Peloton’s ongoing discussions

with publishers who “were prepared to negotiate and issue licenses to Peloton up until the time of

NMPA’s ringleading efforts.” (Id. ¶ 115.) Peloton does not provide any facts in support of its

naked allegation that publishers were “prepared to issue licenses” but for NMPA’s purported

interference. (Id. ¶ 115.)

               Peloton claims that NMPA effectuated this scheme through “its provision of

information (and misinformation)” to the Publishers, including by allegedly sharing information



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protected by an NDA with Peloton. (Id. ¶ 117.) It does not specify what NDA-protected

information or materials NMPA allegedly revealed to the “Coordinating Publishers,” or how this

information was used “to interfere with individual publishers’ ensuing negotiations with Peloton

. . . and to orchestrate the commencement of this lawsuit.” (Id. ¶ 41.) Further, Peloton offers no

facts to illuminate its conclusory statement that NMPA exerted “significant pressure” on the

Publishers to prevent them from negotiating with Peloton directly, or the identities of the unnamed

“other publishers” NMPA allegedly coerced. (Id. ¶¶ 58–61.) To the contrary, Peloton concedes

that it was “able to reach agreements with certain music publishers who had initially been a part

of the group NMPA had purportedly represented in the collective negotiations.” (Id. ¶ 61.) Peloton

makes no allegation as to why, other than to advance the economic interests of music publishers,

NMPA would have attempted to negotiate with Peloton on behalf of the Publishers. (See id. ¶¶ 61,

87, 94, 101.)

                                            ARGUMENT

                To survive a Rule 12(b)(6) motion, “a complaint must contain sufficient factual

matter, accepted as true, ‘to state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 570). Although reasonable inferences may be drawn in

plaintiff’s favor, the Supreme Court has emphasized that mere conclusory statements and

“formulaic recitation of the elements of a cause of action” are not sufficient. Twombly, 550 U.S.

at 555. Dismissal is appropriate where a plaintiff fails to “‘raise a right to relief above the

speculative level.’” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007)

(quoting Twombly, 550 U.S. at 555).




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                                                 I.

                            PELOTON FAILS TO ALLEGE AN
                     ANTITRUST CLAIM FOR HORIZONTAL COLLUSION

A.     COUNTERCLAIM-DEFENDANTS’ JOINT CONDUCT
       IN FILING A COPYRIGHT INFRINGEMENT LAWSUIT
       IS IMMUNE FROM ANTITRUST SCRUTINY UNDER
       THE NOERR-PENNINGTON DOCTRINE

               The decision by the Publishers to file a copyright infringement action against

Peloton for using their music without the required sync licenses, as well as the discussions between

those Publishers and NMPA leading up to that decision, are shielded from antitrust liability under

the Noerr-Pennington doctrine. See Pearson Educ. Inc. v. Allen Air Conditioning Co., No. 08 Civ.

6152 (KBF), 2014 WL 2154099, at *9 (S.D.N.Y. May 22, 2014) (granting motion to dismiss and

holding that book publishers’ coordinated litigation against alleged copyright infringers was

immunized under Noerr-Pennington).

               Peloton’s only path around Noerr-Pennington would require it to allege that (1)

“the lawsuit [was] objectively baseless in the sense that no reasonable litigant could realistically

expect success on the merits,” and (2) the “baseless lawsuit conceals ‘an attempt to interfere

directly with the business relationships of a competitor,’ through the “use [of] the governmental

process—as opposed to the outcome of that process—as an anticompetitive weapon.”

Professional Real Estate Investors, Inc. v. Columbia Pictures Industries, Inc., 508 U.S. 49, 50

(1993) (citing E. R. R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 144 (1961)).

Peloton makes no such allegations here—nor can it. It does not and cannot allege that the

Publishers’ copyright claims—arising from the failure to obtain sync licenses—are baseless. Nor

are the Publishers competitors of Peloton.

               Noerr-Pennington immunity applies not only to the actual filing of the lawsuit, but

also to conduct incidental to the filing of a lawsuit. Primetime 24 Jt. Venture v. Natl. Broad. Co.,

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Inc., 219 F.3d 92, 100 (2d Cir. 2000). Columbia Pictures Industries, Inc. v. Professional Real

Estate Investors, Inc. (“PREI”) is directly on point here. 944 F.2d 1525 (9th Cir. 1991), aff’d, 508

U.S. 49 (1993). There, eight movie studios filed a copyright infringement litigation against a resort

hotel based on the hotel’s rental to its guests of videodiscs containing copyrighted films. Like

Peloton, PREI then filed an antitrust counterclaim, accusing the movie studios of, among other

things, a “concerted refusal to deal” in refusing to grant a license to the resort. Id. at 1528–29. In

an opinion subsequently affirmed by the Supreme Court, the Ninth Circuit concluded that the

movie studios’ joint refusal to license was “conduct incidental to the prosecution of the suit and

not a separate and distinct activity which might form the basis for antitrust liability.” Id. at 1528.

               PREI involved claims of coordinated refusals to license after the filing of the

copyright infringement lawsuit, but Noerr-Pennington protection does not turn on that fact. The

actions of the Publishers and NMPA to redress Peloton’s infringement prior to the filing of the

lawsuit are likewise protected under PREI. Noerr-Pennington immunity indisputably applies to

prelitigation conduct incidental to subsequent litigation. Primetime 24, 219 F.3d at 100 (discussing

examples such as prelitigation threat letters, concerted threats of litigation, prelitigation assertion

of trademark rights, and settlement offers as included in the PREI protections). In Sosa v.

DIRECTV, Inc., 437 F.3d 923 (9th Cir. 2006), the Ninth Circuit rejected an antitrust plaintiff’s

effort to limit the scope of its holding in PREI to post-suit behavior, holding that parties asserting

claims need to have “breathing space” to coordinate their conduct even prior to filing a lawsuit.

Id. at 934–39. Peloton’s allegation that the Publishers participated in “backroom” meetings

organized by NMPA to “further[] their collusion” and presumably prepare for the filing of this

case (see New Countercl. ¶ 67) is the precise sort of conduct that parties are entitled to undertake




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as they consider whether, and prepare, to file suit to enforce their rights. See Sosa, 437 F.3d at

936–37. Any other conclusion would eviscerate Noerr-Pennington.

               Under the Noerr-Pennington doctrine, courts have consistently refused to permit

antitrust claims predicated on the collective enforcement of copyrights. Maverick Recording Co.

v. Chowdhury, 2008 WL 3884350 (E.D.N.Y. Aug. 19, 2008), is illustrative. There, plaintiffs—a

group of record companies organized by the Recording Industry Association of America

(“RIAA”)—brought copyright infringement actions against two individuals for distributing

protected sound recordings over the Internet. Id. at *1. The defendants counterclaimed, alleging

antitrust violations and copyright misuse, based on the plaintiffs’ use of collective litigation

techniques spearheaded by the RIAA. Id. at *3. The court rejected both counterclaims, holding

that “even if collectively bringing infringement suits could be considered anticompetitive-which

it cannot, the Noerr-Pennington doctrine would immunize plaintiffs’ conduct from antitrust

liability. . . . Under the Noerr-Pennington doctrine, the plaintiffs have the right to join together to

prosecute their claims of copyright infringement, even if such conduct could be considered

anticompetitive, as long as the litigation is not a ‘sham.’” Id. (internal citations omitted); see also

Interscope Records v. Time Warner, Inc., CV 10–1662 SVW, 2010 WL 11505708, at *10 (C.D.

Cal. June 28, 2010) (“Moreover, ‘coordinated efforts to enforce copyrights against a common

infringer,’ without more, do not give rise to an antitrust violation or a misuse defense.”) (quoting

Primetime 24, 219 F.3d at 99). The same conclusion is compelled here.

B.     PELOTON FAILS ADEQUATELY TO ALLEGE
       ANY CONSPIRATORIAL CONDUCT BY
       COUNTERCLAIM-DEFENDANTS OUTSIDE
       THE SCOPE OF THE COPYRIGHT LITIGATION

               Apart from the allegations regarding conduct protected by the Noerr-Pennington

doctrine, Peloton’s antitrust counterclaim fails to allege any actionable concerted conduct among


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NMPA and the “Coordinating Publishers.” To state a conspiracy claim, the burden is on Peloton

to plead facts plausibly demonstrating that the Publishers’ decision to forgo or discontinue

licensing negotiations must have been the product of a horizontal agreement among the Publishers

to boycott Peloton outside the scope of a joint effort to enforce their copyrights. Peloton has fallen

far short of that burden.

               Section 1 of the Sherman Act prohibits agreements that anticompetitively restrain

trade, and the burden is on the party alleging a violation of Section 1 to adequately allege that such

an agreement exists. Twombly, 550 U.S. at 556. “The crucial question in a Section 1 case is

therefore whether the challenged conduct stems from an independent decision or from an

agreement, tacit or express.” Starr v. Sony BMG Music Entm’t, 592 F.3d 314, 321 (2d Cir. 2010)

(internal quotation marks omitted). “A plaintiff’s job at the pleading stage, in order to overcome

a motion to dismiss, is to allege enough facts to support the inference that a conspiracy actually

existed.” Mayor and City of Baltimore, Md. v. Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013).

The New Counterclaims contain no such facts.

       1.      Peloton Does Not Adequately Allege a Direct Case of Conspiracy

               Peloton does not even attempt to allege a direct case of conspiracy. (See generally

New Countercl.) Its complaint fails to plead the required “evidentiary facts: who, did what, to

whom (or with whom), where, and when.” In re Musical Instruments and Equip. Antitrust Litig.,

798 F.3d 1186, 1194 (9th Cir. 2015) (internal quotation marks omitted); see also Mayor and City,

709 F.3d at 136 (giving example of recorded phone call as the type of direct evidence that might

satisfy the plaintiff’s burden of pleading direct evidence). Rather, Peloton relies on vague

allegations that the Publishers, “as instigated by and through NMPA, have engaged in collective

negotiations of license terms and have exchanged information with each other about ongoing

license negotiations” at unidentified times and places. (See New Countercl. ¶¶ 65–67.) Such

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allegations fall far short of pleading an agreement that can withstand dismissal.4 See Twombly,

550 U.S. at 548–49, 557, 565 n.10 (holding that “a conclusory allegation of agreement at some

unidentified point does not supply facts adequate to show illegality” where the allegations

“mention[] no specific time, place, or person involved in the alleged conspiracies.”).

        2.       Peloton Does Not Adequately Allege Facts
                 Circumstantially Demonstrating A Conspiracy

                 Alternatively, the plaintiff may “present circumstantial facts supporting the

inference that a conspiracy existed.” Mayor and City, 709 F.3d at 136. However, parallel conduct

by the defendants—here, for example, that some of the Publishers ceased negotiations over

licensing agreements at about the same time—is insufficient, even at the pleading stage, because

parallel conduct is often just as consistent with independent action as collusion. Id. at 136–37. To

survive a motion to dismiss, the complaint must allege factors (often called “plus factors”) tending

to disprove the inference that the parallel conduct was the product of independent decision-making.

Mayor and City, 709 F.3d at 136–38.

                 Peloton fails to allege facts tending to demonstrate that the discontinuation of

licensing discussions with the Publishers resulted from a (non-privileged) collusive agreement.

Stripped of the legal conclusions, which have no bearing on the sufficiency of Peloton’s pleading,

the facts Peloton alleges are these: NMPA sent an April 9, 2018 cease-and-desist letter offering

to negotiate a licensing arrangement on behalf of “an untold number of its member companies,”


4
    Peloton has not even tried to adequately plead participation in the alleged conspiracy by any particular individual
    Publisher, not to mention each and every one of them. Instead, Peloton attempts to lump them together under
    vague titles such as “Other Publishers,” (New Countercl. ¶¶ 58–61), or the “Coordinating Publishers.” (Id. ¶ 3.)
    But the fact that the Publishers are each NMPA members does not relieve Peloton of its burden to plead facts
    permitting an inference of conspiracy with respect to each and every individual Publisher. See AD/SAT, Div. of
    Skylight, Inc. v. Associated Press, 181 F.3d 216, 234 (2d Cir. 1999) (“[A]n antitrust plaintiff must present
    evidence tending to show that association members, in their individual capacities, consciously committed
    themselves to a common scheme designed to achieve an unlawful objective.”); see also In re Zinc Antitrust Litig.,
    155 F. Supp. 3d 337, 384 (S.D.N.Y. 2016) (“Twombly makes clear that at the pleading stage . . . each defendant
    is entitled to know how he is alleged to have conspired, with whom and for what purpose.”).

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which led to negotiations that ended in January 2019. (New Countercl. ¶ 33.) Thereafter, Peloton

tried to negotiate directly with some, but not all, of the “Coordinating Publishers.” Peloton only

alleges direct negotiations with three of the Publishers (Downtown, Anthem, and Reservoir) and

vaguely asserts with no additional support that it “reached out” to Big Deal, Pulse, Round Hill,

Peer, and unnamed “Other Publishers.” (Id. ¶¶ 42–61.) These so-called “Coordinating Publishers”

then “ceased communications with Peloton” just before the copyright lawsuit was filed. (New

Countercl. ¶ 42.)

               These allegations are clearly insufficient to raise an inference that the Publishers

colluded to deny Peloton licensing opportunities. Peloton’s own allegations offer unactionable

alternative explanations for the common pattern of failure to engage or negotiations continuations

by the Publishers.

               The timing of the alleged discontinuation of the negotiations—shortly before or at

the time the copyright lawsuit was filed—presents an obvious explanation. (See New Countercl.

¶¶ 38–39, 42–59, 61.) Each of the Publishers that reached a decision to sue Peloton for copyright

infringement, which would be protected under the Noerr-Pennington doctrine, would have an

obvious reason to discontinue further negotiations with Peloton, even without any sort of

horizontal agreement to do so (which, in any event, would be protected under the Noerr-

Pennington doctrine as incidental to the filing of the copyright infringement lawsuit). See, e.g.,

Primetime 24, 219 F.3d at 100; PREI, 944 F.2d at 1528; see also Twombly, 550 U.S. at 556–57;

Arista Records LLC v. Lime Group LLC, 532 F. Supp. 2d 556, 578 (S.D.N.Y. 2007) (holding

allegations that record companies had each refused to license to a company “notorious . . . for

massive copyright infringement” insufficient to state an antitrust claim).




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                  Peloton’s own allegations provide further reasons that no inference can be drawn

that the Publishers collectively agreed to stop negotiating for licenses with Peloton. Peloton

alleges that “NMPA instigated this collective refusal to deal by, among other means,

misrepresenting the status of Peloton’s engagement and negotiations with NMPA and providing

and using information (and misinformation) in violation of the NDA it had signed with Peloton.”

(New Countercl. ¶ 60.)            This allegation undermines any inference that the “Coordinating

Publishers” would only have cut off individual negotiations if they agreed with each other to do

so. They could each have done so based on a similar understanding (or misunderstanding) about

the status of NMPA/Peloton negotiations; for example, an expectation that NMPA would secure a

favorable license arrangement through its negotiations or that such an arrangement was unlikely

and therefore copyright litigation against Peloton would be preferable.5 Similarly, Peloton’s

unsupported allegation that NMPA “deliberately obfuscated to member publishers the substance

of its discussions with Peloton,” including telling “its members that Peloton had withdrawn from

the negotiations and was unwilling to further engage” undermines Peloton’s effort to establish

coordinated conduct. (New Countercl. ¶ 40.) This allegation provides another explanation,

independent of collusion, for why the Publishers stopped negotiating—if they had all been told

that Peloton was unwilling to engage in further negotiation, they would naturally not have

continued to pursue fruitless negotiations, even without any coordination.6



5
    Whether or not NMPA misrepresented the status of the negotiations or violated the NDA is inapposite here and
    has no bearing on the antitrust question: whether there was a horizontal agreement among the Publishers to
    unlawfully cut off negotiations with Peloton.
6
    It is well-established that “a finding of conspiracy requires evidence that tends to exclude the possibility that the
    defendant was acting independently,” even if a “hub-and-spoke” conspiracy that combines a horizontal agreement
    between competitors with an agreement with a coordinating “hub” at another level of the market can constitute a
    per se antitrust violation. See United States v. Apple, Inc., 791 F.3d 290, 315, 323–24 (2d Cir. 2015) (internal
    quotation marks omitted), aff’g United States v. Apple Inc., 952 F. Supp. 2d 638 (S.D.N.Y. 2013) (Cote, J.).
    Indeed, in Apple, the court affirmed this Court’s finding of an antitrust violation by the “hub” of the alleged

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                Beyond the allegation that the “Coordinating Publishers” all cut off negotiations at

the same time, Peloton has alleged no facts circumstantially raising an inference of collusion. It

focuses on the “Coordinating Publishers’” participation in the same trade association, (New

Countercl. ¶¶ 62–67), but mere participation in trade associations and industry events is not, by

itself, evidence of collusion. In re Travel Agent Comm’n Antitrust Litig., 583 F.3d 896, 911 (6th

Cir. 2009) (“[A] mere opportunity to conspire does not, standing alone, plausibly suggest an illegal

agreement because [the defendants’] presence at such trade meetings is more likely explained by

their lawful, free-market behavior.”); Moore v. Boating Indus. Assn’s, 819 F.2d 693, 712 (7th Cir.

1987) (“[M]ere membership in a trade association, attendance at trade association meetings and

participation in trade association activities are not, in and of themselves, condemned or even

discouraged by the antitrust laws.”) (quoting THOMAS V. VAKERICS, ANTITRUST BASICS § 6.10

(2019)); In re Interest Rate Swaps Antitrust Litig., 261 F. Supp. 3d 430, 483 (S.D.N.Y. 2017)

(dismissing antitrust claims on grounds that allegations that defendant occupied posts in trade

associations were insufficient to show conspiracy). Conspiracy cannot be inferred merely from

the fact that people in the same business meet together. See United States v. Taubman, 297 F.3d

161, 166 (2d Cir. 2002). Nor does the allegation that the head of NMPA exhorted members to

“work together to ‘expand the pie,’” (New Countercl. ¶ 64), remotely establish anticompetitive

collusion. Ross v. Am. Express. Co., 35 F. Supp. 3d 407, 442–43 (S.D.N.Y. 2014) (banks’

incentive to work together to achieve common industry goals did not create an inference of

collusion).

                Peloton’s assertion that “it is against the economic self-interest of the Coordinating

Publishers to refuse to offer to prospective licensees access to their musical works other than


   conspiracy only after noting the “overwhelming” evidence of both horizontal and vertical collusion. Id. at 319–
   20.

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through an NMPA-negotiated collective license,” (New Countercl. ¶ 88), on the other hand, is a

legal conclusion without substance. If each of the Publishers anticipated joining a copyright

infringement lawsuit against Peloton, it would be entirely in each Publisher’s individual self-

interest to await the outcome of the copyright infringement case before committing to licensing

terms, as success in the copyright case would obviously enhance the Publisher’s bargaining

position. Nor is it against the economic self-interest of the Publishers to refuse to license Peloton

on terms that did not fairly reflect the value of their musical works.

C.       PELOTON FAILS TO ALLEGE A RELEVANT PRODUCT MARKET

                   Even assuming Peloton had alleged an agreement among the “Coordinating

Publishers” and NMPA—and it has not—that would not suffice to meet Peloton’s pleading burden

under Section 1 of the Sherman Act, because Peloton has not adequately alleged a relevant product

market.

                   To state a Section 1 claim under the applicable “rule of reason” analysis, Peloton

bears the burden of alleging facts showing anticompetitive effects in a properly defined relevant

market. Clorox Co. v. Sterling Winthrop, Inc., 117 F.3d 50, 56 (2d Cir. 1997); see also Mooney

v. AXA Advisers, L.L.C., 19 F. Supp. 3d 486, 498 (S.D.N.Y. 2014).7 A relevant market must be

defined with reference to the reasonable substitutability of products or services: “[w]here the


7
     The New Counterclaims do not allege that the purported agreement between the “Coordinating Publishers” and
     NMPA constitutes the type of naked restraint that is per se illegal, and the New Counterclaims are appropriately
     assessed under the rule of reason. See, e.g., Atl. Richfield Co. v. 12 USA Petroleum Co., 495 U.S. 328, 342 (1990)
     (In antitrust cases, “[p]er se and rule‐of‐reason analysis are . . . two methods of determining whether a restraint is
     ‘unreasonable,’ i.e., whether its anticompetitive effects outweigh its procompetitive effects.”). As the Supreme
     Court held in Leegin Creative Leather Prods. v. PSKS, Inc., “[t]o justify a per se prohibition a restraint must have
     manifestly anticompetitive effects . . . and lack any redeeming virtue . . . .” 551 U.S. 877, 886 (2007) (internal
     citations and ellipses omitted). And the Court explicitly held in Broadcast Music, Inc. v. Columbia Broadcasting
     System., Inc., 441 U.S. 1 (1979), that blanket licensing of broadcast music by performance rights organizations
     was subject to a rule of reason rather than per se rule of illegality. See also Arista Records, 532 F. Supp. 2d at
     575 n.24 (holding that horizontal agreement to impose common licensing terms on vertically related licensees are
     subject to rule of reason, not per se, analysis). As a result, even if Peloton were to establish that the Publishers
     reached a collective decision regarding whether to license to Peloton, that decision would be reviewed under the
     rule of reason.

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plaintiff fails to define its proposed relevant market with reference to the rule of reasonable

interchangeability and cross-elasticity of demand, or alleges a proposed relevant market that

clearly does not encompass all interchangeable substitute products even when all factual inferences

are granted in plaintiff’s favor, the relevant market is legally insufficient and a motion to dismiss

may be granted.” Chapman v. New York State Div. for Youth, 546 F.3d 230, 238 (2d Cir. 2008)

(quoting Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d Cir. 1997)).

               Peloton defines the relevant product market as “reproduction rights licenses to the

copyrighted works controlled (in whole or in part) and collectively negotiated by the Coordinating

Publishers through NMPA.” (New Countercl. ¶ 81.) Peloton makes no allegation showing

plausibly why the rights owned by the “Coordinating Publishers”—each an independent publisher

not affiliated with a major record label—are not substitutable for rights owned by other publishers,

including the major and independent publishers with whom Peloton has licenses. All that Peloton

alleges is that, since rights are often partial or fractional, being blocked from access to the

“Coordinating Publishers” repertory forecloses Peloton’s access to reproduction of any music of

which the Coordinating Publishers own even a share of the rights. (New Countercl. ¶ 82.)

However, that does not explain why the set of songs that the “Coordinating Publishers” can block

Peloton from playing through their fractional rights are not substitutable with other songs, in which

the “Coordinating Publishers” have no fractional rights. There is no allegation in the Counterclaim

showing that the rights effectively controlled by the “Coordinating Publishers” through their

fractional ownership are not substitutable with other musical compositions. As a result, Peloton

has failed to allege a proper relevant product market.

               “Products will be considered to be reasonably interchangeable if consumers treat

them as ‘acceptable substitutes.’” PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir.



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2002). Peloton must therefore define the relevant product market by reference to the sync licenses

that are required to provide a virtual cycling service. Unlike in cases like Meredith Corp. v.

SESAC, 1 F. Supp. 3d 180 (S.D.N.Y. 2014), where the court allowed a relevant market to be

defined in the repertory of a performance rights organization (“PRO”) because all television

stations needed access to the entire music repertory of each PRO, Peloton makes no factual

allegation showing that its service is dependent on its access to any particular quantity or repertory

of music. To the contrary, Peloton specifically alleges that instructors select music suitable in

“feel and tempo” to play from a song list and that “unlike music streaming services, Peloton does

not need licenses to all or even most music to provide a compelling experience for Peloton users.”

(New Countercl. ¶¶ 6, 35.) Given those allegations, Peloton’s proposed relevant market consisting

of just the reproduction rights controlled by the “Coordinating Publishers” is plainly insufficient.

This is yet another reason that its antitrust claims fail.

                                                        II.

                PELOTON FAILS TO STATE A CLAIM FOR TORTIOUS
             INTERFERENCE WITH PROSPECTIVE BUSINESS RELATIONS

                 Peloton fails to state a plausible claim of tortious interference with prospective

economic relations8 against NMPA. “In order to state a claim for tortious interference with

prospective economic relations, a plaintiff must allege that ‘(1) it had a business relationship with

a third party; (2) the defendant knew of that relationship and intentionally interfered with it; (3)

the defendant acted solely out of malice, or used dishonest, unfair, or improper means; and (4) the

defendant’s interference caused injury to the relationship.’” Ace Arts, LLC v. Sony/ATV Music




8
    “Courts refer to this cause of action by a number of different names, including prospective economic advantage,
    beneficial business relations, prospective business advantage, and business or economic relations. Regardless of
    which term or phrase is used, the same legal standards apply.” Henneberry v. Sumitomo Corp. of Am., 415 F.
    Supp. 2d 423, 465 n.23 (S.D.N.Y. 2006) (internal citations and quotation marks omitted).

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Pub’g., LLC, 56 F. Supp. 3d 436, 452 (S.D.N.Y. 2014) (quoting Kirch v. Liberty Media Corp.,

449 F.3d 388, 400 (2d Cir. 2006)). As this Court has recognized for decades, a claim for tortious

interference with prospective business relations is “very difficult to sustain.” Kramer v. Pollock-

Krasner Found., 890 F. Supp. 250, 258 (S.D.N.Y. 1995).

               Peloton’s claim fails for at least two separate but independently sufficient reasons.

First, even assuming, arguendo, that NMPA intentionally interfered with Peloton’s business

relations with various music publishers, Peloton has failed to plead facts sufficient to show that

NMPA’s interfering conduct was criminal, independently tortious, or taken for the sole purpose of

inflicting harm on Peloton. Second, Peloton has failed to allege that it would have entered into

synchronization licenses with music publishers “but for” NMPA’s conduct.

A.     PELOTON FAILS TO CLEAR THE “PARTICULARLY HIGH HURDLE” OF
       STATING A CLAIM THAT NMPA’S CONDUCT CONSTITUTED A CRIME, AN
       INDEPENDENT TORT, OR AN ACT THE SOLE PURPOSE OF WHICH WAS
       INTENTIONALLY TO HARM PELOTON

               Peloton fails to plead adequately that NMPA’s conduct constituted a crime or an

independent tort, or that NMPA’s actions were taken for the sole purpose of inflicting harm upon

Peloton, rather than pursuant to the permissible and “normal economic self-interest” of its member

publishers. See 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 262 (2d Cir. 2015).

               To sustain a claim for tortious interference, Peloton faces “a particularly high

hurdle, for it requires a plaintiff to show that the defendant committed a crime or an independent

tort such as fraud, or acted for the sole purpose of inflicting intentional harm on the plaintiff.”

Confido Advisors, LLC v. USAA Real Estate Co., No. 17 Civ. 5632 (JFK), 2018 WL 4265900, at

*9 (S.D.N.Y. Sept. 6, 2018) (internal quotations and brackets omitted) (emphasis added). Conduct

in this latter, narrow intentional harm category must be “motivated by spite,” rather than by mere




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“indifferen[ce].” Carvel Corp. v. Noonan, 3 N.Y.3d 182, 190–91 (N.Y. 2004). Only in “rare”9

circumstances, “extreme and unfair” “economic pressure” may suffice to establish the “wrongful

means” necessary to satisfy the third element. Carvel, 3 N.Y.3d at 192–93.

                  Allegations that a defendant acted in its economic self-interest “undermine a

finding of [the requisite] malice.” Solmetex, LLC v. Dental Recycling of N. Am., Inc., No. 17-cv-

860 (JSR), 2017 WL 2840282, at *5 n.10 (S.D.N.Y. June 26, 2017) (emphasis added) (dismissing

claim of tortious interference with prospective business involving mere misrepresentations where

“the pleadings . . . recount[ed] that” the defendant acted in its economic self-interest). New York

law is unequivocal that where a defendant’s conduct is “even partially” motivated by pursuing its

own economic interests, the alleged misconduct cannot constitute the intentional infliction of

harm, unless it is fraudulent or criminal. Kahn v. Salomon Bros., Inc., 813 F. Supp. 191, 195

(E.D.N.Y. 1993) (emphasis added). Moreover, it is settled law in this Court that a defendant’s

alleged mere “misrepresentations” directed at a plaintiff’s specific potential business relations are

insufficient to satisfy this demanding standard. Friedman v. Coldwater Creek, Inc., 551 F. Supp.

2d 164, 170–71 (S.D.N.Y. 2008), aff’d, 321 F. App’x 58 (2d Cir. 2009) (“[M]isrepresentations do

not constitute ‘wrongful means’ per se . . . . [M]isstatements can only support [a] claim for tortious

interference if they were taken solely out of malice or amount to ‘extreme and unfair’ economic

pressure.”).

                  Nowhere does Peloton plead facts that would support a showing that NMPA

committed a crime or an independent tort, such as fraud, or that it acted with the sole purpose of

inflicting intentional harm on the plaintiff. See Confido Advisors, 2018 WL 4265900, at *9.



9
    “While economic pressure brought to bear by one contracting party on the other may, on rare occasions, be
    tortious, it cannot constitute . . . interference with economic relations.” Carvel, 3 N.Y.3d at 192 (internal citations
    omitted).

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Peloton merely and conclusorily alleges that “NMPA acted with the purpose of harming Peloton

. . . by using dishonest, unfair, and improper means” by (1) undertaking “anticompetitive

collusion”; (2) providing and using “information (and misinformation) to Coordinating Publishers

in violation of the NMPA – Peloton NDA”; and (3) “making misrepresentations (about Peloton

and its prior negotiations with NMPA) to individual publishers with whom Peloton was

negotiating.” (New Countercl. ¶ 117.) Such bare bones allegations fail to state a claim. See, e.g.,

Lions Gate Entm’t Corp. v. Icahn, No. 10 CV 08169(HB), 2011 WL 1217245, at *2 (S.D.N.Y.

Mar. 30, 2011) (“Plaintiff points to no facts from which to draw an inference that [defendant] acted

‘solely’ out of malice or used improper means.            The complaint contains only conclusory

statements[,]” and those “threadbare recitals of the elements . . . do not suffice.”) (internal citations

and quotations omitted).

                In fact, the New Counterclaims preclude any finding that NMPA acted with the

sole purpose of inflicting intentional harm on Peloton. Peloton acknowledges that NMPA engaged

in collective negotiations on behalf of music publishers with the intent to “obtain compensation

for all past, present, and future uses of musical works,” insisted “on compensation for all its

member publishers that had not previously entered into agreements with Peloton,” and “exchanged

with Peloton proposals and counter-proposals regarding contract terms (including prices for

licenses).” (New Countercl. ¶¶ 33, 35, 38 (internal quotation marks omitted).) These allegations

“undermine a finding of [the requisite] malice.” See Solmetex, 2017 WL 2840282, at *5 n.10

(emphasis added); see also 16 Casa Duse, 791 F.3d at 262–63. NMPA’s economically motivated

conduct, taken to further its member publishers’ economic interests, cannot constitute intentional

infliction of harm. To state a claim, Peloton must therefore allege the commission of a crime or

independent tort. See Kahn, 813 F. Supp. at 195.



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                  Without seeking Counterclaim Defendants’ consent or requesting leave to amend,

Peloton asserted additional allegations against the NMPA in connection with this claim in the New

Counterclaims, despite the fact that the deadline to amend pleadings expired more than four

months ago and the events underlying the new allegations occurred in early June. Peloton’s

impermissible amendment is particularly noteworthy given its opposition to Plaintiffs’ motion for

leave to amend the FAC. (See ECF No. 73.) In any event, Peloton’s improper amendment cannot

save its claim. The additional allegations concerning the Harry Fox Agency (“HFA”) (New

Countercl. ¶¶ 68–80) fail to state a claim for tortious interference with prospective business

relations, as Peloton cannot clear the “particularly high hurdle” of “show[ing] that [NMPA]

committed a crime or an independent tort such as fraud, or acted for the sole purpose of inflicting

intentional harm on” Peloton. See Confido Advisors, 2018 WL 4265900, at *9 (internal quotations

and brackets omitted) (emphasis added). Among other reasons, Peloton’s vague allegations that

an HFA representative told an unidentified Peloton representative “that HFA was under ‘a ton of

pressure, not just from D.C. but also from New York[,]’” and that statement alluded to “NMPA

and other members of the publishing industry affiliated with NMPA[,]” falls far short of showing

that the NMPA took any step to “deliberately interfere[] with HFA’s work with Peloton,” (New

Countercl. at ¶¶ 78–79), much less for the sole purpose of inflicting intentional harm on the

company.10

                  Nor do alleged violations of the NMPA – Peloton NDA support the inference of

the commission of a crime or an independent tort. Rather, the alleged wrongful disclosure of



10
     The HFA allegations do nothing to further Peloton’s claim of tortious interference by NMPA with Peloton’s
     allegedly prospective business relations with “music publishers” (presumably the Plaintiffs in this action). (See
     New Countercl. ¶¶ 113–21.) Even if the HFA allegations are accepted as true for purposes of this motion to
     dismiss, the facts do not “further illustrate[] . . . NMPA’s explicit and malicious intent to harm Peloton,” which
     is based on the NMPA’s purported interference with Peloton’s efforts to obtain licenses from music publishers.
     (See id.)

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information could at most constitute a breach of contract. See Rockland Exposition, Inc. v. All. of

Auto. Serv. Providers of N.J. 894 F. Supp. 2d 288, 334 (S.D.N.Y. 2012) (“[A] breach of contract

is insufficient to sustain a cause of action for tortious interference with business relationships.”).

Nor can Peloton’s allegations support an inference that the sole purpose of such disclosure was to

intentionally harm Peloton. Peloton itself alleges that the motive of NMPA’s alleged breach was

“to interfere with individual publishers’ ensuing negotiations with Peloton . . . and to orchestrate

the commencement of this lawsuit.” (New Countercl. ¶ 41.) The filing of a non-frivolous lawsuit

cannot constitute “improper means.” See 10 Ellicott Square Court Corp. v. Violet Realty, Inc., 81

A.D.3d 1366, 1367 (N.Y. App. Div. 4th Dep’t 2011).

               It is settled law that any alleged “misrepresentations (about Peloton and its prior

negotiations with NMPA)” made by NMPA “to individual publishers with whom Peloton was

negotiating” are insufficient to satisfy Peloton’s pleading burden. See Friedman, 551 F. Supp. 2d

at 170–71 (S.D.N.Y. 2008). Even though “misrepresentations can constitute dishonest, unfair, or

improper means, they must rise to the level of an independent tort to do so.” See Solmetex, 2017

WL 2840282, at *5. Peloton alleges NMPA made those supposed misrepresentations “with the

purpose of disrupting Peloton’s negotiations with such publishers,” (New Countercl. ¶ 117), but

even if NMPA acted with such a purpose, Peloton’s own allegations support an inference that it

also acted at least partially to advance its members’ economic interests. (See id. ¶¶ 33, 35, 38.)

Any alleged misrepresentations were, therefore, not made for the sole purpose of intentionally

inflicting harm on Peloton.

               Finally, Peloton’s allegations that “NMPA placed significant pressure upon

certain” non-Plaintiff music publishers “(as it did with the Coordinating Publishers) to cease direct

individual discussions with Peloton and to collectively negotiate only through NMPA” (New



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Countercl. ¶ 61), fail to constitute the “rare” circumstances in which “extreme and unfair”

“economic pressure” suffices to establish the “wrongful means” element. See Carvel, 3 N.Y.3d at

192–93. These conclusory allegations are unsupported by any facts whatsoever as to how NMPA

exerted alleged “economic pressure” on music publishers or the extent to which it was “extreme

and unfair.” To the contrary, Peloton’s own admission that it “was able to reach agreements with

certain music publishers who had initially been a part of the group NMPA had purportedly

represented,” (New Countercl. ¶ 61), undercuts any allegations of the placement of “extreme and

unfair economic pressure” by NMPA upon music publishers.

B.     PELOTON FAILS TO ALLEGE THAT IT WOULD HAVE
       ENTERED INTO SYNCHRONIZATION LICENSES WITH
       MUSIC PUBLISHERS “BUT FOR” THE NMPA’S CONDUCT

               Peloton’s tortious interference claim independently fails because Peloton has not

alleged that it would have entered into synchronization licenses with music publishers “but for”

NMPA’s conduct.

               Peloton’s pleading burden “requires not only ‘but for’ causation,” or “that the

plaintiff would have entered into an economic relationship but for the defendant’s wrongful

conduct, . . . but also that the defendant’s interference be direct.” Ortiz v. Todres & Co., LLP, No.

15 Civ. 1506 (LGS), 2019 WL 1207856, at *6 (S.D.N.Y. Mar. 14, 2019) (internal citation and

quotation marks omitted); see also Riddell Sports Inc. v. Brooks, 872 F. Supp. 73, 78 (S.D.N.Y.

1995). “The ‘would have been entered into’ requirement is stringently construed, requiring more

probability than ‘being reasonably certain’ or ‘having a reasonable expectation.’” Weiss/Watson,

Inc. v. Lange, No. 87 CIV 0032 (JFK), 1990 WL 33601, at *4 (S.D.N.Y. Mar. 21, 1990).

               Peloton fails to satisfy this “but for” causal requirement. Peloton only asserts that

it “had a reasonable expectancy of future business relationships for the licensing of copyrights.”

(New Countercl. ¶ 114) (emphasis added).          A “reasonable expectancy” of future business

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relationships fails to satisfy the “but for” requirement. See Arcadia Biosciences, Inc. v. Vilmorin

& Cie, 356 F. Supp. 3d 379, 405 (S.D.N.Y. 2019) (plaintiff’s allegation that it “had an opportunity

and expectation of entering into an agreement with [a specified third party]” is insufficient)

(emphasis added).

               Nor does Peloton provide any plausible facts whatsoever in support of its vague

assertion that “up until the time” NMPA allegedly took “efforts to coordinate a concerted refusal

to deal with Peloton,” “music publishers were prepared to negotiate and issue licenses to Peloton.”

(New Countercl. ¶ 115.) Peloton does not identify a single license agreement with any of the

Publishers that it “would have entered into” but for NMPA’s conduct. See Ortiz, 2019 WL

1207856, at *6 (emphasis added). Although Peloton alleges that it sent term sheets and NDAs to

certain publishers (see New Countercl. ¶¶ 42–62), it does not allege any facts suggesting that “but

for” NMPA’s purported “direct” interference, Peloton’s negotiations with the Publishers “would

have coalesced into actual” licenses. See Riddell Sports, 872 F. Supp. at 78.

                                         CONCLUSION

               For these reasons, Counterclaim-Defendants respectfully request that the Court

dismiss the New Counterclaims in their entirety and with prejudice for failure to state a claim under

Fed. R. Civ. P. 12(b)(6).


Dated: New York, New York
       October 25, 2019

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